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Attorney for Plaintiff
CHRISTOPHER J. CAVALERI

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

CHRISTOPHER J. CAVALERI,       )          CIVIL NO.: 17-00467 RLP
                               )
          Plaintiff,           )          STIPULATION OF DISMISSAL
                               )          WITH PREJUDICE OF ALL
     vs.                       )          CLAIMS
                               )
BLUE DOLPHIN CHARTERS,         )          (In Admiralty)
LTD.; DOE DEFENDANTS 1-20,     )
DOE CORPORATIONS, 1-20, DOE )             Judge: Hon. Richard L. Puglisi
GOVERNMENT AGENCIES 1-20, )
DOE PARTNERSHIPS 1-20,         )          Trial Date: January 14, 2019
                               )
          Defendants.          )
                               )
                               )
______________________________ )

  STIPULATION OF DISMISSAL WITH PREJUDICE OF ALL CLAIMS

     Plaintiff CHRISTOPHER J. CAVALERI (herein “CAVALERI” or

“Plaintiff”), and Defedant PORT ALLEN BOAT TOURS LLC errouneously sued

herein as BLUE DOLPHIN CHARTERS LTD. (herein “Defendant”) by and
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through their undersigned counsel and pursusant to Fed.R.Civ.P. 41(a)(1)(A)(ii)

and L.R. 41.1. hereby stipulate to dismiss with prejudice all claims set forth in this

matter, each party to bear their own attorney’s fees and costs. There are no

remaining claims in this matter.

      IT IS SO STIPULATED.

       DATED: Honolulu, Hawaii, August 28, 2018

                                       _/s/Jared A. Washkowitz____________
                                       JARED A. WASHKOWITZ
                                       Attorneys for Plaintiff
                                       CHRISTOPHER J. CAVALERI

      DATED: Honolulu, Hawaii, August 28, 2018


                                       _/s/Richard A. Lesser____________
                                       RICHARD A. LESSER
                                       Attorneys for Defendant PORT ALLEN
                                       BOAT TOURS LLC errouneously sued as
                                       BLUE DOLPHIN CHARTERS LTD.


                           APPROVED AS TO FORM

      The above sitpulation is hereby approved. This matter is hereby dismissed

with prejudice, each party to bear its own costs and attorneys fees. There are no

remaining claims.

      IT IS SO ORDERED.



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     DATED AT HONOLULU, HAWAII, SETPEMBER 4, 2018.




                                   _____________________________
                                   Richard L. Puglisi
                                   United States Magistrate Judge



CAVALERI vs. BLUE DOLPHIN CHARTERS, LTD.; ET AL.; CIVIL NO.:
17-00467 RLP; STIPULATION OF DISMISSAL WITH PREJUDICE OF
ALL CLAIMS




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